                                                Case 20-63562-pmb                         Doc 25   Filed 07/30/20 Entered 07/30/20 18:39:19                                       Desc
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                                                                                                                                                                                                               Page: 1
                                                                     Individual Estate Property Record and Report
                                                                                      Asset Cases
Case No.:     20-63562-PMB                                                                                                                      Trustee Name:        (300320) S. Gregory Hays
Case Name:        DENNIS, TRACY                                                                                                                 Date Filed (f) or Converted (c): 02/28/2020 (f)
                                                                                                                                                § 341(a) Meeting Date:       04/07/2020
For Period Ending:        06/30/2020                                                                                                            Claims Bar Date: 08/03/2020

                                                      1                                                 2                              3                            4                      5                          6

                                             Asset Description                                       Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                         Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                      Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                         and Other Costs)                                                             Remaining Assets

    1       6885 Estepona St, Atlanta, GA 30349                                                             169,990.00                               0.00                                              0.00               169,990.00
            Trustee filed adversary # 20-06079 to avoid interest of United Community Bank in
            property.

    2       2015 Mercedes CLA 250                                                                            14,500.00                               0.00           OA                                 0.00                        FA
            Notice of abandonment filed by Trustee. See docket # 22.

    3       Furniture                                                                                         2,000.00                               0.00                                              0.00                        FA

    4       Electronics                                                                                          200.00                              0.00                                              0.00                        FA

    5       Clothes                                                                                              250.00                              0.00                                              0.00                        FA

    6       Checking: Navy Federal Credit Union                                                                  100.00                              0.00                                              0.00                        FA

    7       Checking: Unite Community Bank                                                                       400.00                              0.00                                              0.00                        FA

    8       Dog                                                                                                  100.00                              0.00           OA                                 0.00                        FA
            Notice of abandonment filed by Trustee. See docket # 22.

    9       Adversary # 20-06079 against United Community Bank (u)                                                 1.00                              1.00                                              0.00                     1.00
            Complaint filed by Trustee to avoid transfer of interest in real property. See asset
            # 1.

    9       Assets                Totals        (Excluding unknown values)                              $187,541.00                                $1.00                                           $0.00              $169,991.00



        Major Activities Affecting Case Closing:
                                        Trustee filed adversary # 20-06079-pmb against United Community Bank to avoid transfer of interest in real property. Answer due from United
                                        Community Bank by August 7, 2020. If the Trustee is successful, the real property will be free and clear of UCB's lien.

        Initial Projected Date Of Final Report (TFR):                        12/31/2022                                    Current Projected Date Of Final Report (TFR):                       12/31/2022


             07/30/2020                                                                                                      /s/S. Gregory Hays

                  Date                                                                                                       S. Gregory Hays
